USDC    IN/ND
 AO 450 (Rev. 01/09)case   3:13-cv-01037-RLM-MGG
                      Judgment in a Civil Action document 179 filed 09/04/17 page 1 of 1


                       UNITED STATES DISTRICT COURT
                                                    for the
                                    Northern District of Indiana

DARLA VENNARD;
              Plaintiff(s)
         v.                                        Civil Action No.             3:13CV1037

BIOMET INC;
BIOMET ORTHOPEDICS LLC;
BIOMET US RECONSTRUCTION LLC;
DOES 1 THROUGH 10, inclusive (term 5/27/2014)
               Defendant(s)

                               JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):


9 the plaintiff
recover from the defendant                                                        the amount of
 dollars $            , which includes prejudgment interest at the rate of                 % plus post-
judgment interest at the rate of         % along with costs.


9    the plaintiff recover nothing, the action is dismissed on the merits, and the defendant
recover costs from the plaintiff                          .


X Other:           This case is hereby DISMISSED WITH PREJUDICE pursuant to Federal Rule of Civil
Procedure 41(b).

This action was (check one):


9 tried to a jury with Judge                                       presiding, and the jury has rendered a verdict.


9 tried by Judge                                        without a jury and the above decision was reached.


X decided by Judge         Robert L. Miller, Jr.      on a motion for


DATE: September 4, 2017                                       ROBERT TRGOVICH, CLERK OF COURT


                                                              by           S/ J. Darrah
                                                                        Signature of Clerk or Deputy Clerk
